










COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS









EX PARTE:  ALEX PEREZ

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No. 08-11-00291-CR

Appeal from the

409th Judicial District Court
of El Paso County, Texas 

(TC# 20090D001931) 





MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On October 5, 2011, Appellant filed a notice of appeal from an order denying his
application for a writ of habeas corpus.  According to the district clerk’s docketing certificate, the
order was signed on August 4, 2011.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On October 6, 2011, the Clerk of this Court advised Appellant that the notice of appeal
did not appear to be timely.  The Clerk gave notice that the Court would dismiss the appeal for
lack of jurisdiction unless he could show grounds for continuing the appeal within ten days. 
More than ten days have passed, and Appellant has not responded.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;When the trial court denies habeas relief in a criminal case, the notice of appeal must be
filed within thirty days after the order was signed.  See Tex.R.App.P. 26.2(a)(1); see also Ortiz v.
State, 299 S.W.3d 930, 933 (Tex.App.--Amarillo 2009, no pet.); Ex parte Delgado, 214 S.W.3d
56, 58 (Tex.App.--El Paso 2006, pet. ref’d).  The appellant may obtain an extension by filing
both the notice of appeal and a motion for extension of time within fifteen days after the deadline
passes.  Tex.R.App.P. 26.3.  A timely notice of appeal is necessary to invoke this Court’s
jurisdiction.  Olivo v. State, 918 S.W.2d 519, 522 (Tex.Crim.App. 1996).  Because the notice of
appeal was not timely and no motion for extension of time was filed, we dismiss the appeal for
lack of jurisdiction.



November 16, 2011
CHRISTOPHER ANTCLIFF, Justice

Before McClure, C.J., Rivera, and Antcliff, JJ.

(Do Not Publish)


